               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH


UNITED STATES OF AMERICA,            )
                                     )
                   Plaintiff,        )
                                     )
         vs.                         )              ORDER
                                     )
                                     )
(4) THOMAS E. “TED” DURHAM, JR.; and )
(6) GEORGE M. GABLER,                )
                                     )
                   Defendants.       )
____________________________________ )

     THIS MATTER is before the Court on the Defendant Thomas E.

Durham, Jr.’s Motion for Disclosure of Favorable or Impeaching Material

[Doc. 192].   Defendant George M. Gabler moves to adopt Defendant

Durham’s motion [Doc. 197].

     The Defendants make the following specific requests for production

of discovery, favorable material or impeaching material:

     1.     FBI SA Stuart Kelley’s Grand Jury Testimony and the
            Reasons Concerning His Re-Assignment

     FBI Special Agent Stuart Kelley (SA Kelley) at one time was one of

the agents assigned to the investigation of this case. On May 1, 2012 he

was transferred from the Asheville office to a different squad in the



   Case 1:12-cr-00020-MR-SCR    Document 201   Filed 08/22/13   Page 1 of 7
Charlotte FBI office and all of his cases, including the present case, were

re-assigned on May 9, 2012 to other FBI agents. [Doc. 199-1, Letter from

FBI ASAC James E. Jewell, dated Aug. 15, 2013]. Because SA Kelley has

not been involved with the case for over 15 months, the Government has

indicated that it does not intend to call him as a witness at trial. [See Doc.

199 at 2]. Likewise, the Government has indicated that it does not intend to

seek admission of any memoranda of interviews authored by SA Kelley

because the subject witnesses will be called to testify. While SA Kelley

participated in an interview of Defendant Durham on July 26, 2011, another

investigator, FDIC Investigations Specialist Lauren Hood, was the lead

interviewer. The Government indicates that Hood has prepared her own

memorandum of that interview, which has been disclosed to the

Defendants, and that she will be called to testify about Durham’s

statements during that interview.

     Defendants seek advance production of SA Kelley’s grand jury

testimony. SA Kelley testified before the grand jury as a summary witness

on or about April 4, 2012 when the original Bill of Indictment in this case

was presented to the grand jury. The original Indictment has since been

superseded with different counts and different defendants. SA Kelley was


                                      2



   Case 1:12-cr-00020-MR-SCR    Document 201    Filed 08/22/13   Page 2 of 7
reassigned before the superseding Bill of Indictment and therefore another

agent provided a summary of the investigation to the grand jury.

      The Government maintains that SA Kelley did not have personal

knowledge of any of the transactions alleged in the original Indictment, and

that all of the documents and memoranda of interviews supporting the

original Indictment have been provided to the defense in expanded file

discovery.1     Moreover, counsel for the Government has reviewed the

transcript from SA Kelly’s grand jury testimony and avers that it does not

reveal any exculpatory or mitigating information.

      The Jencks Act provides, in pertinent part, as follows:

              [N]o statement or report in the possession of the
              United States which was made by a Government
              witness or prospective Government witness (other
              than the defendant) shall be the subject of
              subpoena, discovery, or inspection until said
              witness has testified on direct examination in the
              trial of the case.

18 U.S.C. § 3500(a).       Similarly, Rule 26.2(a) of the Federal Rules of

Criminal Procedure provides that the Court must order the Government to

produce a witness statement upon a defendant’s motion, but only after that

witness has testified on direct examination.         As the Government has


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  Additionally, the Government asserts that it has already produced the grand jury
testimony of all fact witnesses as a courtesy to the Defendants.
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    Case 1:12-cr-00020-MR-SCR     Document 201     Filed 08/22/13   Page 3 of 7
represented that SA Kelley will not be testifying at trial, the Defendants are

not entitled to disclosure of his grand jury testimony.

      The Defendants also request information explaining why the

investigation was re-assigned from SA Kelley. The Defendants do not

provide a legal basis for this request. Even assuming, however, that such

information is being sought for the purpose of impeaching SA Kelley’s

credibility, the Government does not have any obligation to seek out and

disclose possible impeachment material, as the Government will not be

calling SA Kelley as a witness at trial. See Giglio v. United States, 405

U.S. 150 (1972). In any event, the FBI has confirmed that the reasons for

SA Kelley’s re-assignment were “not due to any actions related to the

Seven Falls/Vinson investigation.” [Doc. 199-1]. Therefore, the reasons for

SA Kelley’s reassignment are irrelevant to any matter at trial unless he

testifies and it is demonstrated that the reasons for his re-assignment tend

to impeach his credibility. This request, therefore, is denied.

      2.    Communications Between the Government and Attorneys
            for Other Defendants

      The Defendants also request “[i]nformation concerning whether the

government requested that attorney Ron True withdraw from representing

Nicholas Dimitris in case number 1:11CR93-1, and if such request was

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   Case 1:12-cr-00020-MR-SCR     Document 201    Filed 08/22/13   Page 4 of 7
made, then when it was made and why.” [Doc. 192 at 2]. The Defendants

fail to explain the relevance of any communications between the

Government and attorneys representing other parties related to the case.

Mr. True filed a motion to withdraw from the representation of Nicholas

Dimitris on Feburary 26, 2013 [Criminal Case No. 1:11-cr-00093, Doc. 21],

but Mr. True died before the motion could be heard. The Government

subsequently obtained Mr. True’s records of real estate closings involving

Dimitris and/or related entities and produced them in discovery.            The

Government also disclosed an FBI-302 report of interview of Mr. True

conducted on February 25, 2013. Thus, if there is information within the

closing files and/or the interview that might impeach Dimitris as a witness, it

has been disclosed with these records. The Defendants’ request for further

production regarding the Government’s communications with Mr. True is

unwarranted.

      3.    Information Contained in or Relating to Presentence
            Reports

      The Defendants request disclosure of “[a]ny statements, including in

sentencing memorandum or objections to presentence reports, by any

defendant in related cases or any potential government witness that could

be used by the defense to impeach these witnesses, or other witnesses

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   Case 1:12-cr-00020-MR-SCR     Document 201    Filed 08/22/13   Page 5 of 7
when cross-examined at trial,” and “[a]ny information found in the

presentence reports of any defendant in related cases or any potential

government witness that could be used by the defense to impeach these

witnesses or other witnesses when cross-examined at trial.” [Doc. 192 at

4]. The Defendants fail to establish with particularity their need for these

materials, as required by LCrR 32.3 (“No confidential records of this Court

maintained by the probation office, including but not limited to the

sentencing recommendation, shall be sought by an applicant except by

written petition to this Court establishing with particularity the need for

specific information in the records.”).

      The Jencks Act and Rule 26.2 of the Federal Rules of Criminal

Procedure require the Government to disclose prior statements of

witnesses after they testify, including those that might be found in

presentence reports, and the Government indicates that it intends to

comply with this requirement. These provisions, however, do not require

the Government to disclose the statements of the witnesses’ attorneys,

specific instances of conduct, or other personal information contained in a

presentence report. The Defendants’ request, therefore, is denied.




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   Case 1:12-cr-00020-MR-SCR      Document 201   Filed 08/22/13   Page 6 of 7
     4.    Defendants’ Remaining Requests

     The Defendants make numerous other requests, all of which are

covered by Rule 16 of the Federal Rules of Criminal Procedure and/or the

Standard Discovery Order. The Government maintains an expanded file

discovery policy and represents that it has disclosed all documents in its

possession in a searchable format and will continue to do so as additional

discovery is located or created. For these reasons, the remainder of the

Defendants’ motion is denied as moot.

     IT IS, THEREFORE, ORDERED that Defendant George M. Gabler’s

Motion to Adopt Co-Defendant Durham’s Motion for Disclosure of

Favorable or Impeaching Material [Doc. 197] is GRANTED.

     IT IS FURTHER ORDERED that the Motion for Disclosure of

Favorable or Impeaching Material [Doc. 192] is DENIED.

     IT IS SO ORDERED.         Signed: August 22, 2013




                                         7



   Case 1:12-cr-00020-MR-SCR     Document 201            Filed 08/22/13   Page 7 of 7
